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   ENEL X NORTH AMERICA and
13 ELECTRIC MOTOR WERKS, INC.

14                         UNITED STATES DISTRICT COURT

15                       NORTHERN DISTRICT OF CALIFORNIA

16                              SAN FRANCISCO DIVISION

17 GEORGE BETAK, an individual,                CASE NO.: 3:19-cv-02516-JSC

18                           Plaintiff,        (A) REQUEST FOR JUDICIAL NOTICE
                                               IN SUPPORT OF ELECTRIC MOTOR
19              v.                             WERKS, INC. AND ENEL X NORTH
                                               AMERICA’S MOTION TO DISMISS
20 VALERY MIFTAKHOV, an individual;            PLAINTIFF’S COMPLAINT;
   ELECTRIC MOTOR WERKS, INC., a
21 Delaware corporation; and ENEL X NORTH      (B) DECLARATION OF
   AMERICA, a Delaware corporation,            CHRISTOPHER B. MCKINLEY; and
22
                               Defendants.     (C) [PROPOSED] ORDER.
23
                                               Date: September 5, 2019
24                                             Time: 9:00 a.m.
                                               Judge: Hon. Jacqueline Scott Corley
25
                                               Complaint Filed: May 9, 2019
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     REQUEST FOR JUDICIAL NOTICE ISO CORPORATE DEFENDANTS’        CASE NO.: 3:19-CV-02516-JSC
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 1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         Pursuant to Federal Rule of Evidence 201, Defendants Electric Motor Werks, Inc.
 3 (“EMW”) and Enel X North America (“Enel X”) (collectively, the “ Corporate Defendants”), by

 4 and through their counsel of record, hereby respectfully request that the Court take judicial notice

 5 of the following exhibits attached to the Declaration of Christopher B. McKinley:

 6         Exhibit A: a true and correct copy of U.S. Patent Application Pub. No. 2013/0179061 to
 7 Gadh et al., dated July 11, 2013;

 8         Exhibit B: a true and correct copy of U.S. Patent Application Pub. No. 2009/0021213 to
 9 Johnson, dated January 22, 2009;
10         Exhibit C: a true and correct copy of U.S. Patent No. 9,987,941 to Miftakhov et al., dated
11 June 5, 2018. Exhibit C is attached to Plaintiff George Betak’s (“Betak”) Complaint (“Complaint”)

12 as Exhibit A; and

13         Exhibit D: a true and correct copy of U.S. Patent No. 10,025,277 to Miftakhov et al., dated
14 July 17, 2018. Exhibit D is attached to the Complaint as Exhibit B.

15 Date: July 3, 2019                  SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

16
                                       By:    /s/ John M. Neukom_______
17                                           JOHN M. NEUKOM

18                                     Attorneys for Defendants,
                                       ENEL X NORTH AMERICA and
19                                     ELECTRIC MOTOR WERKS, INC.
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 1 I.       THE COURT SHOULD TAKE JUDICIAL NOTICE OF THE EXISTENCE AND
            CONTENTS OF EXHIBITS A-D TO THE MCKINLEY DECLARATION
 2
            Pursuant to Federal Rule of Evidence 201, the Corporate Defendants respectfully request
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     that this Court take judicial notice of and consider Exhibits A-D, attached to the Declaration of
 4
     Christopher B. McKinley, filed herewith.
 5
            When considering a Rule 12(b)(6) motion, a “court need not [] accept as true allegations
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     that contradict matters properly subject to judicial notice or by exhibit.” Anderson v. Kimberly-
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     Clark Corp., 570 F. App’x 927, 931 (Fed. Cir. 2014) (alteration in original) (quoting Sprewell v.
 8
     Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001)). And it is well established that “[a]
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     court may consider evidence on which the complaint ‘necessarily relies’ if: (1) the complaint refers
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     to the document; (2) the document is central to the plaintiff’s claim; and (3) no party questions the
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     authenticity of the copy attached to the 12(b)(6) motion.” Marder v. Lopez, 450 F.3d 445, 448 (9th
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     Cir. 2006); Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007) (“In ruling on a 12(b)(6)
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     motion, a court may generally consider only allegations contained in the pleadings, exhibits
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     attached to the complaint, and matters properly subject to judicial notice.”); Eastman v. Apple Inc.,
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     No. 18-cv-05929-JST, 2018 WL 5982440, at *5 (N.D. Cal. Nov. 14, 2018) (taking judicial notice
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     of and considering the patents at issue when dismissing a corrected inventorship claim because
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     they “form[ed] the basis of the complaint” and their authenticity was not disputed) (citation
18
     omitted).
19
            “It is also well-established that a court may take judicial notice of patents or patent
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     applications.” Anderson, 570 F. App’x at 932 n.3 (taking judicial notice of and considering the
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     patent at issue when deciding a Rule 12(b)(6) motion); see Coffelt v. NVIDIA Corp., No. CV16-
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     0045 SJO (KKX), 2016 WL 7507763, at *2 n.3 (C.D. Cal. June 21, 2016), aff’d, 680 F. App’x
23
     1010 (Fed. Cir. 2017) (taking judicial notice of the prosecution history of the asserted patent which
24
     “includes the prior art cited during the examination of the patent” (citation and quotation omitted));
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     Klang v. Pflueger, No. SACV 13-01971 JVS (DFMX), 2014 WL 4922401, at *1 (C.D. Cal. July
26
     10, 2014), (taking judicial notice of two USPTO patent assignment records and two U.S. patents
27
     because they were public records and not subject to reasonable dispute); Prestige Pet Prods., Inc.
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      REQUEST FOR JUDICIAL NOTICE ISO CORPORATE DEFENDANTS’                     CASE NO.: 3:19-CV-02516-JSC
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 1 v. Pingyang Huaxing Leather & Plastic Co., 767 F. Supp. 2d 806, 813 n.3 (E.D. Mich. 2011)

 2 (taking judicial notice of and considering an Office Action in the prosecution history that was not

 3 part of the pleading when granting a motion to dismiss).

 4          A.     The Patents at Issue Are Properly Subject to Judicial Notice
 5          Here, the court should take judicial notice of the existence and contents of U.S. Patent Nos.
 6 9,987,941 (“the ’941 patent”)1 and 10,025,277 (“the ’277 patent”)2 to Miftakhov et al.

 7 (collectively, “the patents at issue”) because they were referenced in the Complaint, form the basis

 8 for Betak’s corrected inventorship claims; and are not the subject of disputed authenticity. The

 9 patents at issue—the ’941 patent and the ’277 patent—were attached to the Complaint as Exhibits
10 A and B, respectively. (See Exs. A & B to Compl.) The Complaint alleges that Betak was an

11 omitted inventor of the patents at issue and, as such, they are central to Betak’s corrected

12 inventorship claims. Id. at Counts I & II. Furthermore, given that the patents at issue are U.S.

13 patents, there are no reasonable disputes as to their authenticity. See Marder, 450 F.3d at 448

14 (taking judicial notice of a release that was central to the plaintiff’s co-ownership claim of a

15 copyrighted work); Anderson, 570 F. App’x at 932 n.3 (taking judicial notice of and considering

16 the patent at issue when it was central to a patentee’s infringement claim); Eastman, 2018 WL

17 5982440, at *5 (taking judicial notice of and considering the patents at issue when dismissing a

18 corrected inventorship claim because they “form[ed] the basis of the complaint” and their

19 authenticity was not disputed).

20          Moreover, the Court should also take judicial notice of the Exhibits C and D because they
21 are U.S. patents, which constitute public records the authenticity of which cannot reasonably be

22 disputed. See Anderson, 570 F. App’x at 932 n.3 (taking judicial notice of the patent at issue

23 because “a court may take judicial notice of patents or patent applications”); Coffelt, 2016 WL

24 7507763, at *2 n.3 (taking judicial notice of the prosecution history of the asserted patent which

25 “includes the prior art cited” therein); Klang, 2014 WL 4922401, at *1 (taking judicial notice of

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27     Ex. C to the McKinley Decl.; and (Ex. A to the Compl.)
     2
      Ex. D to the McKinley Decl.; and (Ex. B to the Compl.)
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                                                      2
      REQUEST FOR JUDICIAL NOTICE ISO CORPORATE DEFENDANTS’                    CASE NO.: 3:19-CV-02516-JSC
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 1 two USPTO patent assignment records and two U.S. patents because they were public records and

 2 not subject to reasonable dispute). Accordingly, the Court should take judicial notice of the patents

 3 at issue—Exhibits C and D (here), and Exhibits A and B (in the Complaint).

 4          B.      The Patent Applications Are Properly Subject to Judicial Notice
 5          Moreover, the Court should take judicial notice of U.S. Patent Appl. Pub. Nos.
 6 2013/0179061 to Gadh et al. (“Gadh”)3 and 2009/0021213 to Johnson (“Johnson”)4 because they

 7 are cited as references on the respective faces of the patents at issue, they are central to Betak’s

 8 corrected inventorship claims, and they are U.S. patent applications, the authenticity of which is

 9 not subject to reasonable dispute.
10          As explained, the patents at issue were attached to, and referred to in, the Complaint, and
11 Gadh and Johnson are cited as references to the patents in suit—Johnson on the ’941 patent and

12 Gadh on the ’277 patent. (See Exs. C at 1 & D at 1 to McKinley Decl.; Exs. A & B to Compl.) As

13 prior art to the patents in suit, Gadh (published in July 2013) and Johnson (published in January

14 2009), are central to Betak’s corrected inventorship claims because a conception determination (or,

15 as here, lack thereof) requires consideration of the state of the art. See Ethicon, Inc. v. U.S. Surgical

16 Corp., 135 F.3d 1456, 1461 (Fed. Cir. 1998) (“One who simply provides the inventor with well-

17 known principles or explains the state of the art without ever having ‘a firm and definite idea’ of

18 the claimed combination as a whole does not qualify as a joint inventor.”); Gen. Elec. Co. v.

19 Wilkins, 750 F.3d 1324, 1332 (Fed. Cir. 2014) (denying a corrected inventorship claim where the

20 omitted inventor’s idea “contributed nothing beyond what was already known in the art” and

21 holding that a “person will not be a coinventor if he or she does no more than explain to the real

22 inventors concepts that are well known and the current state of the art”); Eastman, 2018 WL

23 5982440, at *6 (“[A] joint inventor must . . . do more than merely explain to the real inventors

24 well-known concepts and/or the current state of the art.”).

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27     Ex. A to the McKinley Decl.
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      Ex. B to the McKinley Decl.
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      REQUEST FOR JUDICIAL NOTICE ISO CORPORATE DEFENDANTS’                      CASE NO.: 3:19-CV-02516-JSC
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 1          Indeed, Gadh’s and Johnson’s publications predate the date Betak allegedly shared his
 2 “idea” with Miftakhov. (See Compl. ¶ 24 (stating that Betak shared his purported Wi-Fi

 3 connectivity idea with Miftakhov on May 15, 2014).) Further, the Complaint acknowledges that

 4 consideration of the prior art is central to Betak’s corrected inventorship claim at least by alleging

 5 that Betak’s revenue-grade meter idea was not “on the market at that time,” (id. ¶ 46), which Gadh

 6 contradicts. See Anderson, 570 F. App’x at 931 (holding that a “court need not [] accept as true

 7 allegations that contradict matters properly subject to judicial notice or by exhibit”). And given that

 8 they are pre-grant publications of U.S. patent applications, Gadh and Johnson cannot reasonably be

 9 the subject of disputed authenticity. See Marder, 450 F.3d at 448 (taking judicial notice of a release
10 that was central to the plaintiff’s co-ownership claim of a copyrighted work); Anderson, 570 F.

11 App’x at 932 n.3 (taking judicial notice of and considering the patent at issue when it was central

12 to a patentee’s infringement claim); Eastman, 2018 WL 5982440, at *5 (taking judicial notice of

13 and considering the patents at issue when dismissing a corrected inventorship claim because they

14 “form[ed] the basis of the complaint” and their authenticity was not disputed).

15          Moreover, the Court should take judicial notice of Gadh and Johnson because they are pre-
16 grant publications of U.S. patent applications, which constitute public records whose authenticity

17 cannot reasonably be disputed. See Anderson, 570 F. App’x at 932 n.3 (taking judicial notice of the

18 patent at issue because “a court may take judicial notice of patents or patent applications”); Coffelt,

19 2016 WL 7507763, at *2 n.3 (taking judicial notice of the prosecution history of the asserted patent

20 which “includes the prior art cited” therein); Klang, 2014 WL 4922401, at *1 (taking judicial

21 notice of two USPTO patent assignment records and two U.S. patents because they were public

22 records and not subject to reasonable dispute). Accordingly, the Court should take judicial notice of

23 Gadh and Johnson—Exhibits A and B.

24 II.      CONCLUSION
25          For the foregoing reasons, the Corporate Defendants respectfully request that the Court take
26 judicial notice of Exhibits A-D to the Declaration of Christopher B. McKinley filed
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     REQUEST FOR JUDICIAL NOTICE ISO CORPORATE DEFENDANTS’                      CASE NO.: 3:19-CV-02516-JSC
     MOTION TO DISMISS
        Case 3:19-cv-02516-JSC Document 22-1 Filed 07/03/19 Page 7 of 7



 1 contemporaneously with this Request for Judicial Notice in Support of Corporate Defendants’

 2 Motion to Dismiss.

 3 Date: July 3, 2019               SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 4
                                    By:    /s/ John M. Neukom__
 5                                        John M. Neukom
 6                                  Attorneys for Defendants,
                                    ENEL X NORTH AMERICA and
 7                                  ELECTRIC MOTOR WERKS, INC.
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     REQUEST FOR JUDICIAL NOTICE ISO CORPORATE DEFENDANTS’            CASE NO.: 3:19-CV-02516-JSC
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